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                                                                               USDC DNJ
                       IN THE UNITED STATES DISTRICT COURT                     DOCUMENT
                          FOR THE DISTRICT OF NEW JERSEY                       ELECTRONICALLY FILED
                                                                               DOC #: ___________________
                                                                               DATE FILED: _______________
                                                                                             4/17/2020
IN RE: COURT OPERATIONS UNDER THE                    :
EXIGENT CIRCUMSTANCES CREATED BY                     :       STANDING ORDER 2020-09
COVID-19, MODIFICATIONS OF                           :
STANDING ORDERS 2020-02, 2020-03                     :
and 2020-04                                          :

        WHEREAS, the Governor of the State of New Jersey has declared a State of Emergency
in response to the spread of the coronavirus (COVID-19), and has implemented a stay-at-home
order of indefinite duration; and

        WHEREAS, the Centers for Disease Control and Prevention and other public health
authorities have advised taking precautions to reduce the possibility of exposure to COVID-19
and to slow the spread of the disease; and

        WHEREAS, preventing the spread of COVID-19 requires limiting public contact to
essential matters; and

        WHEREAS, participants in court proceedings are necessarily often in close proximity
to one another;

        NOW, THEREFORE, in order to further public health and safety, the United States
District Court for the District of New Jersey ("Court") determines that it is necessary to
extend dates and time periods set forth in its prior Standing Orders 2020-02, 2020-03 and
2020-04, and issues the following Order:

         1. The Court, having previously issued its Standing Order 2020-02, continuing all
civil and criminal jury selections and jury trials in the District of New Jersey scheduled to begin
before April 30, 2020, now determines that it is necessary to extend the terms of that Order
through May 31, 2020. Therefore, the Court ORDERS that, effective this date, all civil and
criminal jury selections and jury trials scheduled to begin through May 31, 2020 before any
district or magistrate judge in any courthouse in the District of New Jersey are continued pending
further Order of the Court. The Court may issue further Orders concerning future general
continuances of any matters as may be deemed necessary and appropriate. All jury
selections and trials impacted by this Order will be reset by further Order of the assigned
judicial officer.

         2. Additionally, the Court further ORDERS that there shall be no scheduling of jury
trials before May 31, 2020.

       3. Regarding criminal matters, the Court’s Standing Order 2020-02 also provided
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that the time period of March 16, 2020 through April 30, 2020 was "excluded time" under
the Speedy Trial Act, 18 U.S.C.§ 3161(h)(7)(A). As the Court now finds it necessary to
extend the continuances through May 31, 2020, the Court ORDERS that the time period
of March 16, 2020 through May 31, 2020 shall be “excluded time” under the Speedy Trial
Act. The Court finds that the ends of justice served by taking such action materially
outweigh the best interests of the public and the parties in a speedy trial. The Court may by
further Order extend the period of exclusion as circumstances may warrant, and the assigned
judicial officer may, by Order, also do so in connection with any specific proceeding.

       4. The Court’s Standing Order 2020-02 further provided for the continuance of all
Central Violations Bureau (CVB) proceedings between March 16, 2020 and April 30, 2020.
The Court hereby extends that period and ORDERS that all CVB proceedings between
March 16, 2020 and May 31, 2020 are continued, pending further Order of Court.

       5. The Court also extends the prohibition in Standing Order 2020-02 with regard
to grand jury empanelment and ORDERS that no new grand juries will be empaneled during
the period of March 16, 2020 to May 31, 2020, or such other date set by the Court.

         6. The Court’s Standing Order 2020-03 specified that absent further order of the
Court, the time period of March 16, 2020 through April 30, 2020 was “excluded time” in
all criminal proceedings in this District under the Speedy Trial Act, including those
proceedings commenced by complaint. The Court hereby ORDERS that such period of
“excluded time” shall be extended and now covers the period of March 16, 2020 through
May 31, 2020. The Court further ORDERS that such continuance shall also apply to any
time limits established by the Interstate Agreement on Detainers, 18 U.S.C. app. 2, § 2
(art. III).

         7. In addition to the Court’s Standing Order 2020-04, the Court hereby ORDERS that
all filing and discovery deadlines in civil matters that currently fall between March 25, 2020 and
April 30, 2020, provided in Standing Order 2020-04, remain unchanged, and ORDERS all
filing and discovery deadlines in civil matters that currently fall between May 1, 2020 and May
31, 2020 are extended by 30 days, unless the presiding judge in an individual case directs
otherwise after the date of this Order. This extension does not apply to any scheduled dates of
conferences, which are controlled by the presiding judge, nor does it apply to those deadlines
already extended by Standing Order 2020-04.

         8. The Court further ORDERS that, apart from the modifications set forth above, the
provisions of Standing Orders 2020-02, 2020-03 and 2020-04 remain otherwise unaffected and
in full force and effect.
       9. The Court also ORDERS that this Standing Order does not toll or extend any
applicable statute of limitations.
        10. The Court ORDERS that any litigant in a civil matter may seek such relief from
this Order that he/she deems necessary due to emergent circumstances.
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        11. The Court ORDERS that additional Orders addressing COURT
OPERATIONS UNDER THE EXIGENT CIRCUMSTANCES CREATED BY COVID-
19 will be entered as circumstances warrant, and that this Standing Order will expire no
later than May 31, 2020, unless extended by further Court order.



DATE: April 17, 2020                               ___________________
                                                   Hon. Freda L. Wolfson
                                                   U.S. Chief District Judge
                                                   District of New Jersey
